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EXHIBIT 069

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I have recently been contacted by mall by four Texas mmates. Three are on death row, and one is

serving a life sentence. They all allege being the victim of jail house snitching. Two were snitched on pema|es On Deam Row
by the same informalit, and the same prosecutor is involved in all four uf these cases.All four claim Pari Hi n Jai S m n e Armers nm s Causes
the case they were convicted of was an old case or "cold case" as some people refer to it. They claim Media Fren;y

their innocence and feel a great injustice has been done. nearan chlldren like children outlawing me oeam
Ronald Pribble, sits on death row in Texas waiting to die for a crime he says he did not commit. MMMMM~
Pribble was convicted for the homicide of a young couple he knew, and their three children The The Wren | Condemned; |nnocent on Deatli Row

crime occurred in 1999. The two adults were shot, and the house set on tire to cover up the crime

scene. Tlie three children died of smoke inlialatioii. Because lie was the last person to he seen with the ' " ` ' ' ` `
_ _ _ _ _ _ _ Resour¢:es : Takeaways [Hd Vuu Know
victim, he was questioned at the time of the crime, but rcleased, since there was not enough evidence h g g i, l g l

against him pr]bhle dalms' www.|aw.norlhwestern.edu/Wroriglu|convicUons/'doct

Pribble claims lie was the victim of a jailhouse snitch Pribble alleges he was set up, and railroaded to
death rowyears later. He has proof of his innocence a.nd a witness that places him in his parents home
the time of the murders. There was no murder weapon, bad DNA testing, false testimony, missing
evidence, perjured testimony and other shoddy nn'sdoing in his trial according to Pribble. While
serving time in a Federal Texas prison fur bank i'ubbel'y. years after the crime uccurretl, Pribble was
then given a bench warrant for Capital murder just months before he was about to be released Hc
phoned an agent from the Hl_l who was familiar with the murder case, and was also aware that he was
innocent to see if he could get any information He was told "A prosecutor must be trying to make a
case, and they think you will cooperate since your about to be released" according to Pribble.

He was then sent to a medium facility in Texas, Beaumont. While there he was approached by two
inmates, Nathan Foremao and Michael Beckcom. Pribble claims when they approached him they said
"Jeff, we heard you got a bench warrant for Capital murder, do you need some help"? Pribble sais he
knew something was wrong when lie was called by his middle name Jeff, since only his friends called
him tha't_

According to Pribble, Kelley Siegler, prosecutor in Harris County instructed Beckcnm and other
jaHhouse informants to befricnd Pribble, and get information that could bc used against him in court.
Pribble claims the information was fabricated, and he was falsely convicted oil the testimony of a man
who received a reduction in his sentence for snitching. Pribble alleges at his Capital murder trial
Beckculll lied and said the twu were good friends and that Pribble "brag,ged about tlle slloutiligs."

Pribble said his attorney referred to Hecknms testimony as "a dime store no\'e|".

Approxiliiately one month earlier, in the same facility the same jailhouse snitch was instructed once
again by IIarris County Prosecutor Seigler, and "set up" another inmate IIermjlo llerrerro for a
conviction on a crime he also alleges he did not commit, according to both Pribble and Herrero.

Hcrrcro is serving a life sentence for a murder someone else has confessed to.

Herrero claims in his letter to me that an inmate Jesse G. Moreno and three other inmates named
Rafacl Dominguez, Nathan Forenian and Eddie Gomcz conspired with D.A Kclly Sicglcr to charge him

for murder. Herrer¢) claims Moreno had an interview with Kelly Sigler in 2002, and made a recorded

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a statement as to a "so called" confession that he had made to him and two other inmates. Herrero has
documents of the recorded interview as well as the trial transcripts.

Herrero says what ties his case to that of Pribbles is jail house informant Nathan Foreman and
prosecutor Kelly Seigler. At the time Moreno claims Herrero confessed to him Foreman and
Dominguez, in 1999, Herrero claims Foreman was not at Beaumont at the time in question. He did not
arrive there until March of 2000. Herrero claims the statement from both Moreno and Dominquez
was changed when they realised their mistake. He says Foreman never testified on either him or
Pribble. Herrero can prove this testimony with documents, and can prove that Formen was lying, as
well as the other two informants.

Herrero claims the first time he ever met Pribble was when they were both placed in a holding tank
waiting to be picked up by the Sheriffs department. Upon his return about ten months later he was
made aware of how his and Pribble's case were connected. He then took it upon himself to contact
Pribble's lawyer, Mr. Gaiser. Herrero's wife contacted Mr. Gaiser to get his address, and explained the
similarities of both men's cases, and mentioned how Herrero could possibly help in Pribble's casc.
Gaiser told her he Would visit Herrero but never did according to Herrero.

Herrero also claims that his own trial lawyer Dan Cogdell was informed that a man named J ames
Elizade Jr. had called the Herrero's and told them Herrero was innocent and that he would testify on
his behalf. Cogdell waited five months and it wasn't until one day before Herrero's trial that Cogdell
decided the jury wouldn't believe Elizade, although he never even visited him to hear what he had to
say. Herrero wrote to me and said "I feel that Cogdell, Gaiser and Seigler were all working together to
hang me and Pribble out to dry“.

Herrero claims the main reason Prible was brought back to the medium facility was so that Pribble
could meet Nathan Foreman, the man Herrero calls "The invisible man", because he claims he never
knew him. Herrero closed his letter with the question, "How can Pribble and I confess to a man that
we don't even know and on top of that did not exist on the facility at the time they claim they both
confessed"?

Another inmate William Irvan sits on Texas death row, claiming to be a victim of jailhouse snitch
testimony. Irvan alleges he was charged fourteen years after the crime, by the same prosecutor as
Herrero and Pribble, D.A. Kelley Seigler. Irvan was charged for the murder and rape of Michelle
Shadbolt, which occured on or about February 14, 1987, by stabbing her with a knife.

Irvan claims they knew who committed this murder but could not get him, so they came after him. He
admits to having a relationship with Shadbolt, but he had consensual sex with her, and that he did not
rape her. His semen was found in the woman, but was 72 hours old. The prosecution claimed she was
raped, but Irvan says the Homicide detective told the jury that she was not raped and there was no
trauma, no pubic hairs under her nails, and no fingerprint matches. He claims the other suspect was
never tested.

Irvan told me after he was charged a girl named Tamara, he knew years before saw the article in the
paper about him. According to Irvan the girl wrote the homicide detective and told him that I
admitted to her I did this crime. She is in Federal prison serving four life sentences. Irvan claims the
girl and Seigler told the jury she was telling the truth and that she was not getting a deal for her
testimony.

Irvan claims after he was convicted the girls sisters came forward and told his attorneys that Tamara
told them that she had lied, and was getting a deal. Also, another girl who said she was Tamara's cellie,
contacted Irvan‘s attorney and told him that after Tamara came back from the trial she told her that
Tamara said she had lied and got a deal for it. Irvan also received a letter from Tamara's sister and
she told her that after her husband gets out, she will come forward and tell the truth.

Irvan has a website set up by "Innocent In Prison Project" showing all court document about this
case, and other information..

htt : www.ii i. r inmates texas williamirvan.html

 

Irvan closed his letter saying "You will not believe how the Judge, Seigler, and my attorneys worked
together to get me to plead, and when I would not they seeked the death penalty, took my attorneys
and forced me to represent myself".

A forth inmate, Taurus Sales also sits on Texas death row, convicted of murder. Sales claims he was

convicted because of jailhouse snitch testimony, and by the same prosecutor as the other three

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inmates, Seigler. He claims to have written numerous letters to Washington, nonprofit organizations,
attorneys, etc., but never received any assistance.

He claims Seigler prosecuted and convicted Herrero October-November 2003, Pribble, November
to December 2003, himself January 2003, all of Capital murder, one after the other, using the same
pattern, no physical evidence, and all allegedly confiding in fellow in.mates, not as cellies, but snitches
whom have testified favorably for the State on several or more occasions. Sales claims jailhouse
snitches work out in the open with a room full of inmates sharing a squared space. "They gain our
trust within a few months of being housed, and just before our trials begin he claims.“

Sales claims he is innocent and can prove his innocence. He also alleges his amendments were
violated. He is looking for someone to investigate his case, and claims he has information that Would

prove his innocence.

Kelly Siegler is featured on Law.com as one of the top 40 women at the top.
htt:www.lw. m i rf in nl` mn nt lititr.html#ilr

According to the site, she is known as the “Giant-Killer“ in Texas, and has won 12 out of 13 death
sentence convictions. She only handles big cases. I did not speak to Siegler about any of these claims.

According to the Northwestern University school of law, center of wrongful convictions, the number
one reason for wrongful convictions of death row inmates is jail house snitch testimony. Almost half
the exoneration's from death row inmates were accounted by jail house snitch testimony.
Prosecutors use this method to gain convictions, that otherwise would not stand up in court.

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If a defendant is to receive the death sentence, all testimony used should be truthful, and all measures
should be made to enforce this. Jailhouse snitches receive both monetary rewards and leniency in
their own sentences, and sometimes snitch to put the blame on someone. These reasons alone should
put a ban on all jailhouse snitching. Their testimony is unreliable and sometimes fabricated.

All four inmates are hoping someone will help them prove their innocence.

All four inmates can be contacted.
Ronald J. Pribble #999433
Taurus Sales #999446

William Irvan #999472

all at The Polunsky Unit

3872 FM 350 S

livingston, Tx. 77351

Hermilo Herrero #70135-079
Federal Correctional Institution
P.O.Box 26040

Beaumont, Tx. 77720

Sources:
letters recieved in the mail
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